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       Exhibit 14
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Family o f He nrie tta Lac ks wants co mp e nsatio n fo r - Sun, The (Baltimo re , MD) - Fe bruary 14, 20 17 - p ag e 1
February 14, 2017 | S un, The (Ba ltimore, MD) | Andrea K. McDa niels; T he Ba ltimore S un a mcda niels@ ba ltsun.com | Pa g e 1


T he eldest son of H enrietta Lacks wants compensation from the Johns Hopkins University and
possibly other institutions for the unauthorized use of her cells in research that led to decades of
medical advances.

Lawrence Lacks said that he is the executor of his mother's estate and that an agreement the
National Institutes of Health made with other family members over the years regarding use of the
cells were not valid. T hat agreement did not include compensation.

T he cells taken from the 31-year-old from T urners Station after she died of an aggressive form of
cervical cancer in 1951 were the first to live outside the body in a glass tube. T hey were dubbed the
HeLa cells and have become the most widely used human cells that exist today in scientific
research.

Vaccines, cancer treatments and in vitro fertilization are among the many medical techniques
derived from her cells.

"My mother would be so proud that her cells saved lives," Lawrence Lacks said in a statement.
"She'd be horrified that Johns Hopkins profited while her family to this day has no rights."

Johns Hopkins officials said in a statement that when the cells were taken there was no established
practice for informing or obtaining consent from cell or tissue donors, nor were there any
regulations on the use of cells in research.

"T oday, Johns Hopkins and other medical research centers maintain strict patient consent
processes for tissue and cell donation," the statement said. "It is now standard practice to have an
Institutional Review Board examine every research study involving human participants before it is
allowed to begin."

T he medical institution said it hasn't profited from the cells.

"Johns Hopkins never patented HeLa cells, and therefore does not own the rights to the HeLa cell
line," the statement said. "Johns Hopkins also did not sell or profit from the discovery or distribution
of HeLa cells."

T he National Institutes of Health came to an agreement in 2013 with some of Lacks' family that
required scientists to get permission from the government agency to use her genetic blueprint.
T he new agreement also required researchers who get NIH funding to use a database of Lacks'
genome that they can only access by applying through the federal agency. One of her grandsons
and a great-granddaughter were appointed to a working group to help make the decisions.

But Lawrence Lacks, 82, said he never signed off on that agreement. When he asked the NIH for
more information, he said they cut him out of the process.
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"I really didn't understand what was going on," Lacks said. "Instead of explaining it to me they went
three generations under me."

An NIH spokeswoman said it could not respond to a request for comment Monday.

Lawrence Lacks and his son and daughter-in-law said in an interview they plan to file a lawsuit
against Johns Hopkins in coming weeks. T he family members said they had reached out to other
attorneys in the past, but were told the statute of limitations had expired.

Francis Lanasa, the attorney who will represent the family, said that he would use a "continuing
tort" argument, alleging that Johns Hopkins had continued to violate the "personal rights, privacy
and body parts" of H enrietta Lacks over time. "T hey are literally the foundation of modern
medical science," Lanasa said of the cells.

Lawrence Lacks, a retired Amtrak engineer, said he remembers when Hopkins doctors came and
asked his family for blood samples in the 1970s. T hey gave the samples not knowing they were
being used to research the HeLa cells.

Lacks' story garnered national attention after Rebecca Skloot wrote a best-seller, "T he Immortal
Life of H enrietta Lacks," which is being made into a movie by Oprah Winfrey and HBO that is
expected to be released later this year.

After the book's release, Hopkins pointed out that when Lacks was treated, there was no
established practice of seeking consent to take patients' tissue samples for research.

But Ron Lacks, Lawrence Lacks' son, said pharmaceutical companies, authors, hospitals and
scores of other institutions have made money off of his grandmother's cells. T he family has even
seen artwork made of pictures of her cells for sale on the internet.

"Everyone else is making funds off of Henrietta's cells," Ron Lacks said. "I am sure my
grandmother is up in heaven saying, 'Well, what about my family?' "

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